Case: 1:17-md-02804-DAP Doc #: 2373-10 Filed: 08/14/19 1 of 4. PageID #: 387856




                EXHIBIT 35
            Case: 1:17-md-02804-DAP Doc #: 2373-10 Filed: 08/14/19 2 of 4. PageID #: 387857
      <~
             i">>
              CardinalHealth
     Document Title                                                                             Issue Date              Document Number

     NEW RETAIL INDEPENDENT CUSTOMER SURVEY
                                                                                                      1/4/08                     HSCSQRA-SEC-PO 17
     PROCESS
     Org. Office                                                                                Previous Issue          Page                     Change Number

     Healthcare Supply Chain Services                                                                                    [PAGE \*
                                                                                                        New             MERGEFORM                   DCN-1738
     Transportation and Warehouse Operations                                                                                   AT l':l r.f f



     1.0           PURPOSE                        The federal Controlled Substances Act ("CSA") requires pharmaceutical
                                                  wholesalers to maintain effective controls to guard against the diversion of
                                                  controlled substances. The pharmaceutical distribution industry has the
                                                            ...
                                                  respons1b1hty to improve the safety of the supply chain by monitoring the
                                                  distribution of controlled substances to ensure that these critical medications are
                                                  not being diverted for abuse. It is the responsibility of wholesale distributors to
                                                  perform due diligence of customers to understand the customer's business and
                                                  ensure that the customer is filling only prescriptions issued for a legitimate
                                                  medical purpose. This New Retail Independent Customer Survey Process is an
                                                  essential part of that due diligence process when it comes to evaluating accounts
                                                  that express an interest in being new customers of Cardinal Health. No new
                                                  retail independent accounts will be added as Cardinal Health customers unless
                                                  they are first approved through this process.

     2.0           SCOPE                          Cardinal Health requires that the guidelines and procedures described herein
                                                  shall be followed by each of its officers, employees, agents, and consultants in
                                                  pharmaceutical distribution sales, operations management, finance
                                                  management, credit management, human resources and contract positions
                                                  (collectively "associates").

     3.0           INCLUDED                        HSCSQRA-SEC-P017/Form1                        New Retail Independent Pharmacy
                   ATTACHMENTS                                                                   Questionnaire
                   AND FORMS                       HSCSQRA-SEC-P017/Form1                        Compliance Representations and Warranties for
                                                                                                 Pharmacy Customers
     4.0           POLICY

     4.1           Procedure

                                        4.1.1     All Independent Sales Force sales consultants ("Consultants") must complete
                                                  and pass the mandatory Drug Diversion Control Program training for assessing
                                                  new customers

                                        4.1.2     Before any potential new retail independent customer(s) are accepted for sales of
                                                  prescription pharmaceuticals, QRA must first evaluate and determine whether
                                                  that account is acceptable from an Anti-Diversion standpoint.

                                        4.1.3     The QRA review and approval must be done prior to review by other any other
                                                  Cardinal Health departments including Credit/Finance.

                                        4.1.4     Consultants are required as part of the new account (customer) approval process
                                                  to complete the New Retail Independent Pharmacy Questionnaire
                                                  ("Questionnaire"). The New Retail Independent Pharmacy Questionnaire
                                                  template is set forth in HSCSQRA-SEC-P017/Form1.

                                                        •     The information to complete the Questionnaire must be obtained from
                                                              the pharmacy owner.


            For Use by the Transportation and Warehouse Operations groups of the Healthcare Supply Chain Services-Pharmaceutical (excluding Pharmaceutical
     Repackaging, Specialty Pharmaceutical Services, Specialty Pharmaceutical Distribution, Specialty Scripts and Nuclear Pharmacy) and the Healthcare Supply Chain
      Services-Medical (excluding Presource) business units of Card inal Health. This document contains proprietary information. It may not be reproduced or disclosed
                                    without prior written approval by the quality head of the business segment. Unofficial copy if printed.
             »THE USER OF THIS DOCUMENT IS RESPONSIBLE FOR CHECKING THE CURRENT ISSUE DA TE BEFORE USING THIS DOCUMENT«




CONFIDENTIAL                                                                                                     CAH_MDL_PRIORPROD_DEA07 _00891019
            Case: 1:17-md-02804-DAP Doc #: 2373-10 Filed: 08/14/19 3 of 4. PageID #: 387858
      <~
             i">>
              CardinalHealth
     Document Title                                                                             Issue Date              Document Number

     NEW RETAIL INDEPENDENT CUSTOMER SURVEY
                                                                                                      1/4/08                     HSCSQRA-SEC-PO 17
     PROCESS
     Org. Office                                                                                Previous Issue          Page                     Change Number

     Healthcare Supply Chain Services                                                                                    [PAGE \*
                                                                                                        New             MERGEFORM                   DCN-1738
     Transportation and Warehouse Operations                                                                                   AT l':l r.f f



                                                        •     The Questionnaire along with accompanying photos of the pharmacy
                                                              must be completed thoroughly and accurately.

                                                        •     The completed Questionnaire must be sent to the Anti-Diversion Group
                                                              in Corporate QRA (fax No. 614-652-4628 or email: [ HYPERLINK
                                                              "mailto:gmbqraanti-diversion@cardinalhealth.com" Jgmbqraanti
                                                              diversion@cardinalhealth.com.)

                                        4.1.5     In addition to the Questionnaire, each pharmacy owner who wants to purchase
                                                  product from Cardinal Health is required to sign a Pharmacy DEA Compliance
                                                  Agreement and provide copies of the current ownership of the pharmacy and a
                                                  copy of the application that was provided to the state Board of Pharmacy to
                                                  obtain a license and the application made to the Drug Enforcement
                                                  Administration to obtain a Certificate of Registration. The Pharmacy DEA
                                                  Compliance Agreement template is set forth in HSCSQRA-SEC-P017/Form 2
                                                  and entitled "Compliance Representations and Warranties for Pharmacy
                                                  Customers".

                                        4.1.6     Employees who participate in, enable, or condone diversion, or otherwise violate
                                                  the Know Your Customer Policies, including failure to report suspected diversion,
                                                  failure to accurately and truthfully complete the Questionnaire, enabling improper
                                                  sales into the Secondary Market, or failing to report suspicious activity by internet
                                                  pharmacies are subject to discipline up to and including dismissal. Employees
                                                  who report their own improper conduct will have self-reporting taken into account
                                                  in determining the appropriate disciplinary action.

                                        4.1. 7    Completed Questionnaires sent to Anti-Diversion Group in Corporate QRA will be
                                                  reviewed by Corporate QRA.

                                        4.1.8     Corporate QRA shall verify the completeness of the information received and will
                                                  review additional internal and external information to validate information
                                                  provided.

                                        4.1.9     Once the verification process is completed, a decision shall be made by
                                                  Corporate QRA as to whether to approve the account.

                                      4.1.10      Once the account is approved or denied, notification shall be provided to
                                                  CrediUFinance, Customer Database - (CCDB) and the Consultant submitting the
                                                  new customer for review.

                                                        •     An ongoing list shall be maintained by Corporate QRA identifying any
                                                              potential customers that were denied for diversion-related reasons.

     5.0           APPLICABLE                      None
                   DOCUMENTS




            For Use by the Transportation and Warehouse Operations groups of the Healthcare Supply Chain Services-Pharmaceutical (excluding Pharmaceutical
     Repackaging, Specialty Pharmaceutical Services, Specialty Pharmaceutical Distribution, Specialty Scripts and Nuclear Pharmacy) and the Healthcare Supply Chain
      Services-Medical (excluding Presource) business units of Card inal Health. This document contains proprietary information. It may not be reproduced or disclosed
                                    without prior written approval by the quality head of the business segment. Unofficial copy if printed.
             »THE USER OF THIS DOCUMENT IS RESPONSIBLE FOR CHECKING THE CURRENT ISSUE DA TE BEFORE USING THIS DOCUMENT«




CONFIDENTIAL                                                                                                     CAH_MDL_PRI ORPROD _DEA07 _00891020
            Case: 1:17-md-02804-DAP Doc #: 2373-10 Filed: 08/14/19 4 of 4. PageID #: 387859
      <~
             i">>
              CardinalHealth
     Document Title                                                                             Issue Date              Document Number

     NEW RETAIL INDEPENDENT CUSTOMER SURVEY
                                                                                                      1/4/08                     HSCSQRA-SEC-PO 17
     PROCESS
     Org. Office                                                                                Previous Issue          Page                     Change Number

     Healthcare Supply Chain Services                                                                                    [PAGE \*
                                                                                                        New             MERGEFORM                   DCN-1738
     Transportation and Warehouse Operations                                                                                   AT l':l r.f f




     Approvals on file in the Healthcare Supply Chain Services (Transportation and Warehouse Operations) Document Center
     Approvers:    Steve Reardon                                                                       Owner:       Michael Mone'
                                                                                                       Doc Center:  Pat Warner
     Change History
     DCN-1738              1/4/08        Original issue of new policy.




            For Use by the Transportation and Warehouse Operations groups of the Healthcare Supply Chain Services-Pharmaceutical (excluding Pharmaceutical
     Repackaging, Specialty Pharmaceutical Services, Specialty Pharmaceutical Distribution, Specialty Scripts and Nuclear Pharmacy) and the Healthcare Supply Chain
      Services-Medical (excluding Presource) business units of Card inal Health. This document contains proprietary information. It may not be reproduced or disclosed
                                    without prior written approval by the quality head of the business segment. Unofficial copy if printed.
             »THE USER OF THIS DOCUMENT IS RESPONSIBLE FOR CHECKING THE CURRENT ISSUE DA TE BEFORE USING THIS DOCUMENT«




CONFIDENTIAL                                                                                                     CAH_MDL_PRI ORPROD _DEA07 _00891021
